Case 2:20-cv-11181-CAS-JPR Document 37 Filed 07/13/21 Page 1 of 4 Page ID #:386




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     INTERFOCUS INC. d.b.a. www.patpat.com
   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14
                  Plaintiff,                  PROOF OF SERVICE RE UNDER
  15                                          SEAL DOCUMENTS
           v.
  16
     INTERFOCUS, INC. d.b.a.
  17 www.patpat.com, a Delaware
     Corporation; CAN WANG, and
  18 individual, and DOES 1-10, inclusive.,
  19              Defendants.
  20
     INTERFOCUS, INC. d.b.a.
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28

                                     PROOF OF SERVICE
Case 2:20-cv-11181-CAS-JPR Document 37 Filed 07/13/21 Page 2 of 4 Page ID #:387




   1                                PROOF OF SERVICE
   2       I, CHERYL LOVDAHL, am over the age of 18 and not a party to
   3 this action. My place of business is 800 Oak Grove Avenue, Suite 250,
   4 Menlo Park, CA 94025. On July 13, 2021, I served the following
   5 attached document(s):
   6
             1.    Defendant and Counterclaimant Plaintiff Interfocus, Inc.
   7               d.b.a. www.patpat.com’s Application to File Under Seal
   8               Previously Entered Into Settlement Agreement;
                   Declaration of Mark S. Lee in Support of Defendant and
   9
                   Counterclaim Plaintiff Interfocus, Inc. d.b.a.
  10               www.patpat.com’s Application to File Under Seal
  11               Previously Entered Into Settlement Agreement; and
  12
                   [Proposed] Order Granting Defendant and Counterclaim
                   Plaintiff Interfocus, Inc. d.b.a www.patpat.com’s
  13               Application to File Under Seal Previously Entered Into
  14               Settlement Agreement; and
  15         2.    Proof of Service
  16 on the person(s) listed below in the following manner/s:
  17
               BY ELECTRONIC MAIL. I sent the persons below copies of the
                documents via electronic mail at the email addresses below.
  18
  19         The following party was served the above-referenced document(s):

  20                        Chan Yong Jeong, Esq. (SBN: 255244)
                                  jeong@jeonglikens.com
  21                             JEONG & LIKENS, L.C.
  22                             222 South Oxford Avenue
                               Los Angeles, California 90004
  23                              Telephone: 213.688.2001
  24                              Facsimile: 213.315.5035

  25         I declare under penalty of perjury under the laws of the State of California
  26 that the foregoing is true and correct.
  27
       DATED: July 13, 2021                           /s/ Cheryl Lovdahl
  28                                                        Cheryl Lovdahl
                                                -1-
                                        PROOF OF SERVICE
                          Case 2:20-cv-11181-CAS-JPR Document 37 Filed 07/13/21 Page 3 of 4 Page ID #:388


Cheryl Lovdahl

From:                cacd_ecfmail@cacd.uscourts.gov
Sent:                Tuesday, July 13, 2021 10:42 AM
To:                  noreply@ao.uscourts.gov
Subject:             Activity in Case 2:20-cv-11181-CAS-JPR Neman Brothers & Assoc., Inc. v. Interfocus, Inc. et al Leave to File Document Under Seal


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                                                                 UNITED STATES DISTRICT COURT

                                                                CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by Lee, Mark on 7/13/2021 at 10:41 AM PDT and filed on 7/13/2021
Case Name:          Neman Brothers & Assoc., Inc. v. Interfocus, Inc. et al
Case Number:        2:20‐cv‐11181‐CAS‐JPR
Filer:              Interfocus, Inc.
Document Number: 34

Docket Text:
APPLICATION to file document under seal filed by Counter Claimant Interfocus, Inc., Defendant Interfocus, Inc.. Application
set for hearing on 8/16/2021 at 10:00 AM before Judge Christina A. Snyder. (Attachments: # (1) Declaration of Mark S. Lee in
Support of Defendant and Counterclaim Plaintiff Interfocus, Inc. d.b.a. www.patpat.com's Application to File Under Seal
Previously Entered Into Settlement Agreement, # (2) Exhibit 3 to Declaration of Mark S. Lee, # (3) Proposed Order Granting
Defendant and Counterclaim Plaintiff Interfocus, Inc. d.b.a. www.patpat.com's Application to File Under Seal Previously
Entered Into Settlement Agreement)(Lee, Mark)


2:20‐cv‐11181‐CAS‐JPR Notice has been electronically mailed to:

                                                                                  1
                           Case 2:20-cv-11181-CAS-JPR Document 37 Filed 07/13/21 Page 4 of 4 Page ID #:389

Chan Yong Jeong      jeong@jeonglikens.com, info@jeonglikens.com

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Zheng Liu      zheng.liu@rimonlaw.com, cheryl.lovdahl@rimonlaw.com, docketing@rimonlaw.com

2:20‐cv‐11181‐CAS‐JPR Notice has been delivered by First Class U. S. Mail or by other means BY THE FILER to :

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\fakepath\01 2021.07.13 Application to File Under Seal.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=7/13/2021] [FileNumber=32266242‐0
] [1df61ad81090e3116ed6948e29a211ea78ac11385151b03f9402c903d6501f83e49
3da838aeb37ac098f57b9c3ef1e3dfcf34dadbaf82372fd4f8e9ef8073b03]]
Document description:Declaration of Mark S. Lee in Support of Defendant and Counterclaim Plaintiff Interfocus, Inc. d.b.a. www.patpat.com's Application to
File Under Seal Previously Entered Into Settlement Agreement
Original filename:C:\fakepath\01‐1 2021.07.13 Decl of Mark Lee ISO Appl to File Under Seal.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=7/13/2021] [FileNumber=32266242‐1
] [4fbb158bd0247be8f972fac692722530f43ade1607e7d9dc23b5992946c53efd893
bb0e0298561b0dfc210fd0ac0761c152647fcb5590a4c31d31201550b2301]]
Document description:Exhibit 3 to Declaration of Mark S. Lee
Original filename:C:\fakepath\01‐2 Ex. 3 Unredacted Settlement Agreement.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=7/13/2021] [FileNumber=32266242‐2
] [7286242ea0681278e155699bb57636c88e6ecaf78e0496d38d3e0ce9d3fb53cb509
fc43e2121a164eafb868e48972237b440b5343dfd9b3bd113ccb2a2ddbb3c]]
Document description:Proposed Order Granting Defendant and Counterclaim Plaintiff Interfocus, Inc. d.b.a. www.patpat.com's Application to File Under Seal
Previously Entered Into Settlement Agreement
Original filename:C:\fakepath\01‐3 2021.07.13 [Proposed] Order Granting Appl to File Under Seal.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=7/13/2021] [FileNumber=32266242‐3
] [4a715fc8d8d4832be03f08784c4319c2896b8169b97564a3bf2699581b5618e9f2c
af49624437d7beed771f0b4c48944480acea466d71b36bae7b7e219c5cd6a]]

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